           Case 6:18-bk-16350-SY Doc 8 Filed 07/30/18 Entered 07/30/18 09:09:02                                      Desc
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                                         United States Bankruptcy Court
                                          Central District of California
In re:                                                             CHAPTER NO.:   7
Charles Richard Nelson
Ruth Delia Nelson                                                  CASE NO.:   6:18−bk−16350−SY

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:
A. You must cure the following within 14 days from filing of your petition:

    Verification of Master Mailing List of Creditors [LBR 1007−1(a)] (LBR Form F1007−1)

         Other (Specify):




The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                   Chapter 7   Original only

Please return the original or copy of this form with all required items to the following location:

                   3420 Twelfth Street, Riverside, CA 92501−3819
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: July 27, 2018                                                           For the Court
                                                                               Kathleen J. Campbell
                                                                               Clerk of Court
(Form mccdn − Rev 01/2018)                                                                                             8 − 1 / SRG
